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                                                         October 8, 2021

VIA ECF
The Honorable Alison J. Nathan
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007-1312                                                                       10/8/21

       Re:    United States v. Trevon Gross, 15-cr-769-3 (AJN)
              Travel Request

Dear Judge Nathan:                                                                              SO ORDERED.
        I write on behalf of defendant Trevon Gross to seek a modification of the terms of his
supervised release to allow him to travel to Houston, Texas for a work conference for
training and professional development the week of October 18-22, 2021, flying out early on              10/8/21
October 18, 2021 and returning on October 23, 2021. I have conferred with the Government and
Probation and they have no objection to this request. A letter describing the conference and why
Mr. Gross’s presence is requested in person is attached. Thank you for your consideration of this
request.

                                                                  Very truly yours,


                                                                  /s/ Kristen M. Santillo
                                                                  Kristen M. Santillo
CC:    AUSA Won S. Shin
       Probation Officer Kevin Villa




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